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                             Exhibit 6
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      Commentary                                                                                                                                                Open Access


  API Supplier Change or Addition of Alterate API Supplier in Generic Drug
  Products: Cost, Quality and Regulatory Factors
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                              Abstract
                                   Generic drug product (GDP) competition for market existence and profitability has become a challenging task
                              for the manufacturers. All the generic players are putting intensive efforts to enter the market with competitive price
                              and consistent drug product (DP) quality. The generic firms have to manage the delicate balance between the cost
                              and quality of raw materials, especially the active pharmaceutical Ingredient (API) for market survival. Major Pharma
                              companies have adopted the merger and acquisition strategies with API manufacturers to withstand the competition
                              and price erosion. Still the majority firms don’t have their own API manufacturing facility. Since the finished product
                              cost is majorily driven by API, the supplier selection plays prominent role in the generic profitability as well as quality.
                              The supplier screening and selection includes extensive evaluation and comparison of documents, quality and cost.
                              As part of risk mitigation strategy many generic manufactures prefer to include additional or alternate sources for API
                              supplier. This exercise could be triggered anytime during the DP life cycle. The authors have tried to share the view
                              on supplier change process at various stages of product lifecycle and related regulatory authority requirements and
                              expectations. Generic products have been targeted majorly for US and Europe regions and same is being focused
                              here. These two regulatory bodies have almost similar requirement for supplier selection and change, except
                              difference in procedural approaches. The regulatory requirements may vary for each phase of generic product life
                              cycle. At the development stage, the supplier change may not significantly fall into regulatory umbrella. Generally
                              development phase comes under relatively less regulatory scruitiny than CTD submission or post approval phase.
                              The dossier review and post approval phase have almost similar regulatory requirements. All the post approval
                              changes shall be routed through SUPAC filing in US and VARIATION filing procedures in Europe.


 Keywords: API supplier selection; API supplier change; Alternative                               API manufacturers facing inspection failures owing to GMP (good
 API supplier; SUPAC filing; Variation filing; Prior approval supplement;                     manufacturing practices) non-compliance issues may also adversely
 Type-II variation                                                                            affect the generic player’s .This emphasizes the need for the right supplier
                                                                                              selection for their DP development. Most of the inspection failures
 Introduction                                                                                 occur due to lack of online documentation, analytical compliance,
     Pharmaceutical industry is growing exponentially in value and                            procedural guidance implementation, deviations, CAPA (corrective
 quantum year by year. Price competition as well as profitable trading                        action and preventive action), contamination, failures investigations
 has become a vital factor in the market existence for the companies                          and manufacturing problems etc. All these issues may insist to select
 across the globe. There has been consistent efforts and control by the                       right API supplier for generic drug development as well as to have
 regulatory authorities to maintain the product quality considering the                       additional API supplier as backup. The major focus of this write up is
 end user safety. More legislations and regulations are being implemented                     to make the reader aware of the existing regulatory expectations and
 emphasizing the quality standards with changing market scenario.                             strategies in carrying out the supplier change exercise.
     Every manufacturer has been putting their best efforts to overcome                       API Supplier Selection [1-3]
 the shrinking revenues and profit margin. The material scarcity and
 cost are the significant barriers insisting the pharma companies to                              Companies perform thorough evaluations based on individual
 make compromises on product cost. The pharma companies have to                               internal systems and policies for selecting the appropriate API supplier.
 manage a thin balance between cost and quality of raw materials which
 significantly impacts the finished DP quality attributes. The DP pricing
 structure reveals that the final cost is driven majorly by API price. This                   *Corresponding author: Useni Reddy Mallu, Dept. of Chemistry, Sri
 is most relevant for generic applicants, as the market is overcrowded                        Krishnadevaraya University, Anantapur, Andhra Pradesh, India; E-mail:
                                                                                              drusenireddymallu@gmail.com
 and the profits are marginal.
                                                                                              Received April 11, 2015; Accepted April 28, 2015; Published May 05, 2015
     Most of the pharma giants have their own API divisions to withstand
                                                                                              Citation: Mallu UR, Nair AK, Bapatu HR, Pavan Kumar M, Narla S, et al.
 the rapid price erosion. The pricing pressure is generally huge in the                       (2015) API Supplier Change or Addition of Alterate API Supplier in Generic
 generic market due to the vast number of players. These diminishing                          Drug Products: Cost, Quality and Regulatory Factors. Pharm Anal Acta 6: 364.
 margins and costing pressure leads to the lookout for cheaper API’s                          doi:10.4172/21532435.1000364
 by generic companies. As part of this the generic companies very                             Copyright: © 2015 Mallu UR, et al. This is an open-access article distributed under
 frequently undergo API supplier changes to compete the market. The                           the terms of the Creative Commons Attribution License, which permits unrestricted
                                                                                              use, distribution, and reproduction in any medium, provided the original author and
 applicant has to go through regulatory process for supplier changes.                         source are credited.



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                                                      Figure 1: API supplier selection process [4-5].



API source selection will depend on a number of factors, including their
familiarity with intended molecule or class of molecule, the strength
of their Chemistry, Manufacturing and Controls (CMC) program (or
the availability of CMC information for existing APIs), their ability
to secure DMFs, history of regulatory inspections and manufacturing
capabilities. The supplier selection process majorly comprises the
document review, quality evaluation and cost comparisons. Purchase,
quality assurance (QA), analytical, formulation and costing teams are
the screening and evaluation cross functional teams majorly involved
into selection process. Preferably, the API selection shall be initiated
from a supplier pool which is audited and approved. Any new additional
suppliers shall be audited by the selective quality teams. API supplier
selection process has represented in the below Figure 1.
Preliminary assessment
    API material properties and DP requirements should be understood.                           Figure 2: API supplier change or addition causes.
Generic product manufacturers should assess the initial assessment on
each quality attributes.
                                                                                probable and most possible scenarios have been depicted below.
Document review                                                                 Typically, on many occasions generic companies opt to go with more
    Open part DMF should be reviewed and understood the synthetic               than one API suppliers during submission, which could enable the
route, product specifications, analytical procedure, impurity profile,          applicants to commercialize any of the approved suppliers in future
stability results, and CMC changes.                                             2. The major geographies targeted by generic players are US and
                                                                                Europe owing to its huge market size and volume. Thus the article also
Sample analysis                                                                 primarily focused to cover the regulations and legislations related to
                                                                                supplier change procedures applicable to these domain (Figure 2).
    Supplier samples should be analyzed by using certified standard
materials as per pharmacopoeial procedures (USP, Ph. Eur., JP or                    The regulatory requirements may vary from phase to phase at which
national pharmacopoeia) and/or in-house approved procedures.                    the supplier change happens. However if it occurs at development stage,
                                                                                the process may not undergo a thorough regulatory scrutiny or review
Onsite or off-site audit                                                        as the product is neither submitted nor approved. Nevertheless, it is
    QA team should perform offsite or onsite audit activity. Inspection         recommended to perform the quality comparisons as well as the risk
team should evaluate the API factory quality systems, deviations,               assessments at these stages with the previous suppliers. The major
CAPA, recalls, warning letters, reprocessing batches, annual reports,           causes for a suppliers change is listed below
CMC changes, batch to batch variability, OOS, OOT, specifications and               API supplier selection shall be performed based on the appropriate
pharmacopoeial adoption etc.                                                    evaluation process. However, change in supplier may happen at any stage
Summary data evaluation                                                         of product life cycle, the possible reasons too could vary accordingly.
                                                                                Based on the general understanding and author’s experience, the
   Supplier selection results should be evaluated of document review,           change phases can be classified as below,
sample analysis report and onsite/offsite audit results.
                                                                                    1. Development Phase
API supplier approval or rejection
                                                                                    2. Submission Phase
    Finally, two suppliers shall be selected one as main and another one
as alterative supplier for generic DP development.                                  3. Review Phase (prior approval)
                                                                                    4. Post Approval Phase
API Supplier Change/Alternative Supplier Addition
[6-7]                                                                           Development phase
    As discussed in the above sections, generic product applicants                  The product development stage can be further broadly divided into
consider a switch in API supplier mainly to control the manufacturing           pre formulation, formulation (lab scale) and Formulation (pilot scale)
cost of the product, though the other reasons also may persist. The             stages. All these development phases fall before the exhibit batch or


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dossier submission stages and thus the changes or addition of suppliers                    Addition of alternative API supplier: Generic manufacturer can
at this stage may not be considered under regulatory umbrella. Most                    add alternative API material for DP. A comparison report on both APIs
of the time the supplier change or addition at these stages shall be                   physical and chemical properties including starting materials, impurity
approached similarly. Regulatory bodies generally expect to have the                   profile, residual solvents, specifications and analytical procedures is
experiments repeated with new API material. Below table represented                    recommended. Generic applicant should discuss all experimental data
the development phases and redevelopment activities [8] Table 1.                       in product development report.
    Step 1: Pre-formulation: Pre-formulation includes characterization                 Submission phase
of API, reference medicinal products, excipients compatibility and
preliminary formulation experiments. If API supplier change happens                        Submission phase includes exhibit or submission (pivotal) batch
after completion of Preformulation studies, generic player should                      manufacturing, BABE (bio-availability and bio-equivalence) studies,
repeat all the pre-formulation activities with new API material, such                  stability studies, CTD (common technical document) preparation and
as characterization of API and excipients compatibility studies. Again                 submission. Generic product manufactures can choose an alternative
redefine the CMA for new API material and risk assessment should be                    source of API at the commercial stage or even change the existing API
performed.                                                                             supplier as well. Figure 4 represents all activities in this phase.

    Step 2: Formulation (Lab Scale): Step-2 includes evaluating and                        The supplier additions at this stage have to be routed through
establishing QbD (quality by design) elements like CQA, CMA, DoE                       regulatory purview and the associated recommendations and
(design of experiments) and design space (DS) in lab scale level. This                 requirements have been established by the regulatory bodies. Adequate
step carries significant role in the DP development and so the vendor                  risk assessments along with mitigations and control strategies should
change risks from API material quality attributes on quality attributes                be established and reported. Simultaneously all the regulatory bodies
need to be thoroughly evaluated. Thus, it’s advisable to perform the                   recommend for DP in-vitro dissolution comparisons and similarity
risk assessments with API supplier change and repeat the formulation                   between the suppliers. If any discrepancies or failures in exhibit batches
experiments to mitigate the risks and ensure the control strategies.                   stability studies or bioequivalence studies, then the DP may undergo
                                                                                       redevelopment.
    Step 3: Formulation (Pilot Scale): This step includes design space
and control strategy on formulation, specifications and analytical                         Addition of alternate API supplier: Regulatory authority
procedures. If API supplier has changed then all previous development                  expectations are similar to primary and alternate sources of API.
activities should perform including stability studies. Comparison report               Subsequently, the product development report shall carry adequate
may also require for both API material physicochemical properties                      information to support the alternate supplier selection and adoption. In
such as synthesis, impurities profile, residual solvents, polymorphism,                addition, a comparison report between primary API and other sources
water content, Flowability etc.                                                        on the synthetic route, process, impurity profile and physicochemical
                                                                                       properties is also recommended. Alternative API sourced manufactured
    If API supplier change happens at this stage then the GDP                          batches BE studies were waived on conditions of in-vitro similarities.
manufacturer should work for additional developmental activities                       CTD DS part should carry details about both the API sourced materials.
(Figure 3). The dissolution comparisons along with other CQA’s shall                   The below CMC data shall be included in the dossier if intend to submit
be ensured before switching over to new API supplier. It is expected                   alternative API sources for the DP.
to enclose all these experiments and updates with relevant data in the
product development report. The associated risk assessments along                          I. Comparison and justification of the comparability of the physical
with mitigation strategies for the DP quality attributes shall also need               and chemical properties (starting material, impurities, assay etc.) of DS
to be updated in the report.                                                           from each source


        Product development steps                                                       Redevelopment activity requirement
Step-1: Pre-formulation                        Comparison of API specifications, Polymorphs, Monographs compliance, Physical and chemical characterisation.
                                                   1. Perform the Step 1 activities
Step-2: Formulation(Lab scale)                     2. Re-evaluate the drug substance (DS) and DP risk assessments
                                                   3. Re assess the QTPP,CQA,CMA (critical material attributes),CPP (critical process parameters) and design space
Step-3: Formulation (Pilot scale)                  4. Evaluate the DP stability
                                               Table 1: API supplier change requirements at various development stage.




                                                Figure 3: GDP life cycle with API supplier selection, change or addition.




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                                                     Figure 4: Submission phase activities and approach [9-14].




                                               Figure 5: Change or addition of alternative API supplier in review phase.



   II. Separately manufactured DP batches with alternative API                             Case 1: No API related deficiencies from reviewer: If no major
material.                                                                             deficiency received on present API material, then generic applicant can
                                                                                      proceed for API supplier change or addition of new API supplier with
    III. Comparative dissolution data with the first supplier                         minimum documentation and regulatory burden. Generic applicant
    IV. Appropriate stability data on each strengths manufactured                     should perform the equivalency between present and proposed API
using alternative API source.                                                         suppliers, not limited to physicochemical properties. No BABE studies
                                                                                      are required in this case, but API finished specifications should be similar
Review phase (Prior approval) [15-17]                                                 with primary API material. For any mismatches with present API, then
    Generic companies may proceed for API supplier change or                          suitable scientific justification may be accepted. Other requirements are
addition of alternative supplier in the review period. Applicant should               same as prior approval supplement including new batch and stability
submit amendment or supplement to agency for change or addition                       studies with proposed API material. Detailed discussion represented in
of API supplier. USFDA has published the guidance on “Alternative                     below section (Post approval phase).
source of active pharmaceutical ingredient in pending ANDAs”. Figure
                                                                                           Case 2: Non-GMP deficiencies received on original API: This
5 has represented the approaches for API supplier change or addition
                                                                                      category includes the case where the DS deficiencies were received from
in the review period. As per figure 5, authors has considered three cases
                                                                                      agency other than GMP. In this case also generic applicant may not have
such as,
                                                                                      to perform bioequivalence studies for API supplier change or addition.
     Case 1: No API related deficiencies from reviewer                               Similar to case-1 requirements, comparison report between the API’s
                                                                                      is required. Other requirements are same as prior approval supplement
     Case 2: Non-GMP deficiencies received on original API
                                                                                      including new batch and stability studies with proposed API material.
     Case 3: GMP deficiencies received on original API                               Detailed discussion represented in below section (Post approval phase).


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                                                    Figure 6: Post approval process in USFDA and EMA.




    Case 3: GMP deficiencies received on original API: The API source
variation or additions at ANDA review phase shall undergo substantial
regulatory scrutiny. The supplier changes due to GMP issues related
to the primary API manufacturer may call for new bioequivalence
studies. Generic player should manufacture new submission batches
and perform the 6 months stability and bioequivalence studies. In-vitro
studies also needed with new API material. Previous bioequivalence
studies (submitted batches) were acceptable except for the GMP issues
that were specific to the original API. The specifications of the alternate
source API need to be essentially same as the original source API.
Applicant should assure the similarity in synthesis, impurity profile and
physicochemical properties between original and alternate source of API.
    Further the applicant needs to confirm that the original API source
is not being withdrawn due to deficiencies specifically relating to that
API such as, lack of adequate controls; evidence of adulteration and
evidence of falsification of data in the application or identified in the                 Figure 7: USFDA prior approval supplement procedure.
preapproval inspection. If these three situations apply, a new acceptable
BABE study and comparative dissolution data for all strengths will be
needed to support the alternate source for API.                                USFDA perspective
    Regulatory framework demands the applicant to follow prior                   API supplier change or addition of alternative supplier is belongs to
approval for API supplier change or addition of alternative API supplier.     major change so generic applicant should proceed with prior approval
More precisely, USFDA recommending proceeding with PAS and EMA                supplement [PAS] (Figure 7).
recommends similar procedure, type-2 variation approach (described             Major changes (PAS)
in below section).
                                                                                  Manufacturing sites: A move to a different manufacturing site,
Post approval phase [18-26]                                                   except one used to manufacture or process a DS intermediate, when
     The Post approval period could be broadly classified into before and     the new manufacturing site has never been inspected by FDA for the
after commercialization. Either of these stages generic manufactures          type of operation that is being moved or the move results in a restart
could force for an API supplier change or addition. Irrespective of the       at the new manufacturing site of a type of operation that has been
stage, the regulatory demands and procedures are similar and insist           discontinued for more than two years.
to abide by the published guidances. Typically, a change from one DS
manufacturer to another involves more than simply a site change. In               A move to a different manufacturing site, except one used to
most cases, there will be additional differences (e.g., route of synthesis,   manufacture or process a DS intermediate, when the new manufacturing
process, impurities, residual solvents, and equipment) which have to          site does not have a satisfactory cGMP inspection for the type of
be addressed adequately. Nevertheless, regulatory agencies recommend          operation being moved. A move to a different manufacturing site for
for submitting the comprehensive information for both the DSs. Post           the manufacture, processing, or primary packaging of DPs when the
approval phase changes requirements are different for USFDA and               primary packaging
EMA. All post approval changes will be handled in US with SUPAC
                                                                                 Manufacturing process: Any fundamental change in the
filing approach and for Europe VARIATION filing procedure. Figure
                                                                              manufacturing process or technology from that currently used by the
6 represents the USFDA and Europe post approval categories with API
supplier change or alternative supplier change.                               applicant. DS: Change in the route of synthesis of a DS. Changes in the


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synthesis or manufacture of the DS that may affect its impurity profile                   Definition
and/or the physical, chemical, or biological properties.
                                                                                              Sub Section-1 (B.I.a.1.b): Introduction of a manufacturer of the
PAS filing Procedure                                                                      AS supported by an ASMF

     Change or addition of API supplier belongs to major change and                           Sub Section-2 (B.I.a.1.b): The proposed manufacturer uses a
thus routed through PAS (Prior Approval supplement) submission                            substantially different route of synthesis or manufacturing conditions,
procedure. ANDA applicant should submit the PAS to the agency with                        which may have a potential to change important quality characteristics
                                                                                          of the AS, such as qualitative and/or quantitative impurity profile
GDUFA (Generic Drug User Fee Act) fee. As per GDUFA, the PAS
                                                                                          requiring qualification, or Physico-chemical properties impacting on
review completion target is 6months and if the new API manufacturing                      bioavailability
facility requires FDA inspection then the review time shall be
10months. The review completion timelines may vary from 6 months to                           Sub Section-3 (B.I.a.1.b): Introduction of a new manufacturer
10months based on the FDA decision on API site inspection. FDA will                       of the AS that is not supported by an ASMF and requires significant
                                                                                          update to the relevant AS section of the dossier.
provide notice to the applicant if such a change arises. As noted above,
if an amendment is made to a PAS, the GDUFA goal date associated                               Variation filing Procedure: Variations handling procedure can
with that PAS may be revised. Amendments are classified into Tier-1,                      depend on the application procedure i.e. Centralized, National and
Tier -2 and Tier -3 categories. Based on the amendment nature PAS                         Mutual recognition procedures. These variations can be followed as
                                                                                          per EU variation guidance “Guideline on the details of the various
review time will be revised. These all changes and supplements are
                                                                                          categories of variations to the terms of marketing authorizations for
discussed in FDA guidance “ANDA submissions-amendments and
                                                                                          medicinal products for human use and veterinary medicinal products”
easily correctable deficiencies under GDUFA” ; “ANDA submissions-                         and other. Authors have previously published the article on “Variation
Prior approval supplements under GDUFA” and “Major, Minor and                             filing procedure in Europe: A complete review”
Telephone amendments to Abbreviated New Drug Applications”
                                                                                          Documentation for Regulatory Agencies [27-38]
EMA perspective
                                                                                               API supplier change or addition of alternative supplier has similar
     API supplier change or addition of alternative supplier falls to                     requirements for documentation submission. USFDA and EMA agencies
variation type-IA administrative changes (manufacturer name,                              have similar CMC requirements and administrative requirements are
API facility address etc.); type-IAIN (change in manufacturer of API                      different for each regulatory agency. In CTD module-1 is belongs to
where no CEP [certificate of suitability of monographs of European                        administrative information so it has different requirements for each
pharmacopoeia]) and variation type-II (API synthetic route,                               agency. Table 3 has represented the module-1 requirements. CMC
impurities, specifications etc.). These two variation filing approaches                   changes have similar requirements for both regulatory bodies and the
details are tabulated in the below. If the API doesn’t have approved                      detailed documentation requirements were tabulated in Table 4.
CEP/ASMF (active substance master file) then generic applicant should                     Conclusion
follow the EMA recommended procedures Table 2.
                                                                                              The API supplier change or addition of alternative supplier may
    Type-IA variation: This is an administrative change variation                         happen anytime during the generic DP lifecycle. The regulatory
category and the details were tabulated in the below table.                               guidances majorly concentrate on the post approval supplier changes
    Type-II variation (Quality changes): (Change in the manufacturer                      and up to some extent in development and submission phase also.
(including where relevant quality control testing sites) of the active                    However, there is still lack of clarity on the regulatory expectations
substance (AS), where no Ph. Eur. certificate of suitability is part of the               for API supplier change or addition of alternative API supplier during
approved dossier)                                                                         development stages. If these changes occur before CTD submission,


                                                             Type-IA variation (Administrative changes)-A.4.
Definition: Change in the name and /or address of a manufacturer or an ASMF holder or a supplier of the API, starting material where no Ph. Eur. certificate of
suitability is part of the approved dossier.
Required documentation:
1. A formal document from a relevant official body (eg. chamber of commerce) in which the new and/or address is mentioned
2. Amendment of the relevant sections of the dossier
3. In case of change in the name of the holder of the API holder, updated letter of access.
                                                               Type-IAIN variation (quality change)-B.I.a.1.a
 (Change in the manufacturer (including where relevant quality control testing sites) of the active substance (AS), where no Ph. Eur. certificate of suitability is part of the
                                                                            approved dossier)
Definition: The proposed manufacturer is part of the same pharmaceutical group as the currently approved manufacturer
Required documentation:
1. Amendment of the relevant sections of the dossier.
2. A declaration on similarity of API synthetic route, specifications and test procedure for both API suppliers.
3. Either a TSE Ph. Eur. certificate of suitability for any new source of material (where applicable).
4. Batch analysis data for at least two batches (minimum pilot scale) of the API from the current and proposed manufacturers/sites.
5. Detailed information in Module-1, 1.2 Application form, section 2.5 outline the ‘present’ and ‘proposed’ manufacturers.
6. QP declaration for each of API manufacturing facility.
                                                                   Table 2: EMA type-I variaton changes.



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Document title                                                                                  Contents
       API GMP and          GMP Related: Recalls, OOS/OOT, CAPA, deviations, facility inspection failures (if any), recent regulatory inspections and warning letters/
 Administrative information import alerts.
   (if unaudited facility)  Administrative: New API holder DMF letter of access, API facility inspection declaration letter (EU), QP declaration letter (EU), APIs
                            establishment inspection report and Supply capacity and Material price statement. Patents certification (if required)
          Module-1            USFDA: Form-356 h; cover letter, API DMF document letter of authorization; request for Biowaiver (if applicable).
                              EMA: cover letter, application form [annexures for new API supplier information including facility and corporate office address, Brief
                              description of API manufacturing process, Description of GMP facility, GMP certificates and qualified person for batch release declaration
                              letters] and product related information.
                                                        Table 3: Documentation requirements for adimistrative part.

Document title                                                                                  Contents
 Comparison report on both Synthetic route (starting material, impurities profile, residual solvents), Physical properties (particle size, bulk density, polymorphism,
          APIs             solubility), Specifications, Analytical procedures and Method validation
      DP development          Comparison report for API physicochemical properties, DP impurity profile, Updated components and composition statement, analytical
                              method validation reports. Risk assessments and QbD elements reconfirmation.
New manufacturing batches Intended master batch records for the largest intended commercial batch size (US), Executed batch manufacturing record (for USFDA),
    with proposed API     Batch analysis CoA, in-vitro dissolution results, in-vitro dissolution comparison report with old API mfg. batches, 6months accelerated and
                          long term stability data and stability commitment for long term/intermediate conditions.
        CTD sections          DS CMC part: Module-2 QOS and Module-3 DS part
                                                           Table 4: Documentation requirements for quality part.


the recommendations are to discuss in DP development report.                             11. Borah B, Dufresne TE, Ritman EL, Jorgensen SM, Liu S (2006) Long-term
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